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AO 242 (12/11) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

UNITED STATES DISTRICT COURT MAY 06 2019

for the

JAMES W. MgCORMACK

EASTERN DISTRICT OF ARKANSAS By: K, CLERK

DEP CLERK

         

JERRY SMITH

XNG-ev- 00051 ph |x

Civil No. __:91-cv-
CaseNo. Crim No. 3:11-cr-00283-SLB-HGB-
(Supplied by Clerk of Court)

 

Petitioner

Vv.

DEWAYNE HENDRIX,
Warden, FCI Forrest City Low

 

Respondent
(name of warden or authorized person having custody of petitioner)

PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

Personal Information

This case assigned to District Judge LDARS fale _

 

 

 

 

 

 

 

 

1. (a) Your fullname: Jerry Smith _and to Magistrate Judge KEARAEY
(b) Other names you have used: N/A
2. Place of confinement:
(a) Name of institution: FCI Forrest City Low
(b) Address: Federal Correctional Institution
P.O. Box 9000, Forrest City, AR 72336
(c) Your identification number: Reg. No. 29176-001
3. Are you currently being held on orders by:
federal authorities © State authorities © Other - explain:
4. Are you currently:
OA pretrial detainee (waiting for trial on criminal charges)
MServing a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime
If you are currently serving a sentence, provide:
(a) Name and location of court that sentenced you: Northern District of Alabama (Northwestern)

 

 

(b) Docket number of criminal case: 3:11-cr-00283-SLB-HGD-1
(c) Date of sentencing: 04/06/2012

Being held on an immigration charge

Other (explain): N/A

 

 

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Decision or Action You Are Challenging

5. What are you challenging in this petition:

CHow your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
revocation or calculation of good time credits)

OPretrial detention

Immigration detention

Detainer

The validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
maximum or improperly calculated under the sentencing guidelines)

QO Disciplinary proceedings

Other (explain):

 

 

6. Provide more information about the decision or action you are challenging:
(a) Name and location of the agency or court: Northern District of Alabama (Northwestern)

 

 

 

(b) Docket number, case number, or opinion number: 3:11-cr-00283-SLB-HGD-1

 

 

 

 

(c) Decision or action you are challenging (for disciplinary proceedings, specify the penalties imposed):
y ging P g: ip

Conviction and Sentence

 

 

 

 

 

 

(d) Date of the decision or action: 04/30/2012

Your Earlier Challenges of the Decision or Action

7. First appeal
Did you appeal the decision, file a grievance, or seek an administrative remedy?
Yes No
(a) If “Yes,” provide:
(1) Name of the authority, agency, or court: N/A

(2) Date of filing: _ ee oe
(3) Docket number, case number, or opinion number:
(4) Result: ae
(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

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(b) If you answered “No,” explain why you did not appeal:

 

 

 

 

Second appeal
After the first appeal, did you file a second appeal to a higher authority, agency, or court?
Yes No
(a) If “Yes,” provide:

(1) Name of the authority, agency, or court:

 

 

(2) Date of filing: 7 7
(3) Docket number, case number, or opinion number:
(4) Result:
(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

Third appeal
After the second appeal, did you file a third appeal to a higher authority, agency, or court?
Yes No
(a) If “Yes,” provide:

(1) Name of the authority, agency, or court: __

 

(2) Date of filing: _ — _
(3) Docket number, case number, or opinion number:
(4) Result: a
(5) Date of result:

(6) Issues raised:

 

 

 

 

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(b) If you answered “No,” explain why you did not file a third appeal: | N/A .

 

 

 

 

10. Motion under 28 U.S.C. § 2255

In this petition, are you challenging the validity of your conviction or sentence as imposed?

WyYes OWNo

If “Yes,” answer the following:

(a) Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
wf Yes C1 No
If “Yes,” provide:
(1) Name of court: Northern District of Alabama (Northwestern)
(2) Case number: 3:13-cv-08002-SLB
(3) Date of filing: 02/07/2013 _
(4) Result: Denied _
(5) Date of result: 12/23/2014 - oo 8
(6) Issues raised: Smith alleged that counsel was ineffective for three reasons:

 

 

 

 

 

 

 

 

 

(1) for failing to appeal petitioner's case after being requested to do so by petitioner;

 

 

 

(2) for coercing petitioner into pleading guilty toa crime he did not commit;

 

(3) for refusing to seek a withdrawal of petitioner's guilty plea; and

 

 

(4) victim's recantation in an affidavit, attached as an exhibit to petitioner's Amended Memorandum,

 

 

___ proved that the victim's previous testimony regarding petitioner's criminal conduct was false, and thus,

 

 

___Placed petitioner's conviction into question. . oe
(b) Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
seeking permission to file a second or successive Section 2255 motion to challenge this conviction or

 

 

sentence?
Yes No

If “Yes,” provide:

(1) Name ofcourt NA,
(2) Case number:

(3) Date of filing: |
(4) Result:
(5) Date of result:

(6) Issues raised:

 

 

 

 

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11.

 

 

 

 

 

 

 

(c) Explain why the remedy under 28 US.C. § 2255 is inadequate or ineffective to challenge your

conviction or sentence: § 2255 is inadequate or ineffective by satisfying the following conditions: _

 

 

 

(1) makes a claim of actual innocence, and

 

 

(2) has not had an “unobstructed procedural shot” at presenting that claim. _

 

 

 

 

Appeals of immigration proceedings

Does this case concern immigration proceedings?

 

 

 

 

(Yes No
If “Yes,” provide:
(a) Date you were taken into immigration custody: __ ;
(b) Date of the removal or reinstatement order: __ oe
(c) Did you file an appeal with the Board of Immigration Appeals?
Yes No
If “Yes,” provide:

(1) Date of filing:

(2) Case number:

 

 

(3) Result! | co
(4) Date of result: _

 

(5) Issues raised:

 

 

 

 

 

 

 

(d) Did you appeal the decision to the United States Court of Appeals? -

Yes WNo
If “Yes,” provide:

(1) Name of court: _

(2) Date of filing: _

(3) Case number:

 

 

 

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(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

12. Other appeals
Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
raised in this petition?
Yes WNo
If “Yes,” provide:
(a) Kind of petition, motion, or application: N/A

 

(b) Name of the authority, agency, or court:

 

 

(c) Date of filing: ee a
(d) Docket number, case number, or opinion number:
(e) Result:

(f) Date of result:

(g) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Grounds for Your Challenge in This Petition

13. State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
facts supporting each ground.

GROUND ONE: Smith's Conviction is Unconstitutional Because He is Actually innocent.

 

 

 

 

 

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(a) Supporting facts (Be brief. Do not cite cases or law.):
Smith’s Conviction is Unconstitutional Because He is Actually Innocent.

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Please see Memorandum of Law in Support.

 

 

 

(b) Did you present Ground One in all appeals that were available to you?
MHYes ONo

GROUND TWO: N/A

 

 

 

 

(a) Supporting facts (Be brief. Do not cite cases or law.):

 

 

 

 

 

 

 

(b) Did you present Ground Two in all appeals that were available to you?
Yes ONo

GROUND THREE: N/A

 

 

 

 

(a) Supporting facts (Be brief. Do not cite cases or law.):

 

 

 

 

 

 

 

(b) Did you present Ground Three in all appeals that were available to you?
Yes ONo

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GROUND FOUR: N/A

 

 

 

(a) Supporting facts (Be brief. Do not cite cases or law.):
N/A

 

 

 

 

 

 

(b) Did you present Ground Four in all appeals that were available to you?

Yes CINo
14, If there are any grounds that you did not present in all appeals that were available to you, explain why you did
not:

 

 

 

 

Request for Relief

15. State exactly what you want the court to do: Smith’s sentence should be vacated for resentencing. In the alternative

 

an evidentiary hearing should be held so that Smith may further prove his meritorious ground for relief, resolve any

 

disputed facts, and expand an incomplete record.

 

 

 

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Declaration Under Penalty Of Perjury

If you are incarcerated, on what date did you place this petition in the prison mail system:

I declare under penalty of perjury that I am the petitioner, I have read this petition or had it read to me, and the
information in this petition is true and correct. I understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.

Date: AY- 30-19 —

 

 

Signature of. ‘Attorney or other authorized person, ifany

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